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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

           MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION


UNITED STATES OF AMERICA                    )
                                            )      CRIMINAL ACTION NO.
      v.                                    )         3:14cr403-MHT
                                            )              (WO)
FREDA LANISE CLARK                          )


                       CORRECTED OPINION AND ORDER

       This cause is before the court on the government

and     defendant       Freda      Lanise       Clark’s   joint     motion    to

continue.          For the reasons set forth below, the court

finds       that      jury    selection     and     trial,    now    set     for

December 1, 2014, should be continued pursuant to 18

U.S.C. § 3161(h)(7).

       While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer,        785    F.2d    1506,     1516     (11th   Cir.    1986),     the

court      is   limited       by   the   requirements        of   the   Speedy

Trial Act, 18 U.S.C. § 3161.                    The Act provides in part:

             "In any case in which a plea of not
             guilty is entered, the trial of a
             defendant charged in an information or
             indictment with the commission of an
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          offense shall commence within seventy
          days from the filing date (and making
          public)   of    the   information   or
          indictment, or from the date the
          defendant   has   appeared   before  a
          judicial officer of the court in which
          such charge is pending, whichever date
          last occurs."

18 U.S.C. § 3161(c)(1).          The Act excludes from the 70-

day period any continuance based on "findings that the

ends of justice served by taking such action outweigh

the best interests of the public and the defendant in a

speedy trial."      18 U.S.C. § 3161(h)(7)(A).            In granting

such a continuance, the court may consider, among other

factors, whether the failure to grant the continuance

“would result in a miscarriage of justice” or "would

deny counsel for the defendant or the attorney for the

Government the reasonable time necessary for effective

preparation, taking into account the exercise of due

diligence."     18 U.S.C. § 3161(h)(7)(B)(i), (iv).

    The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public and Clark in a speedy trial.

Clark   has     applied      for,       and   the    government         is

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recommending,     pretrial     diversion.         The    parties       need

additional      time    for   the    government     to    prepare       the

pretrial diversion packet to submit to probation and

for probation to conduct its investigation and make a

determination on the government’s recommendation.

                                    ***

    Accordingly, it is ORDERED as follows:

    (1)    The    government        and    defendant     Freda    Lanise

Clark’s joint motion for continuance (doc. no. 204) is

granted.

    (2)    The   jury    selection        and   trial,   now     set    for

December 1, 2014, are reset for March 23, 2015, at

10:00   a.m.,    in    the    Federal      Courthouse     in     Opelika,

Alabama.

    DONE, this the 19th day of November, 2014.

                                        /s/ Myron H. Thompson___
                                     UNITED STATES DISTRICT JUDGE
